                      IN THE DISTRICT COURT OF THE UNITED STATES
                     FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION
                                        3:04CR115

                                                  )
UNITED STATES OF AMERICA                          )
                                                  )          AMENDED ORDER
               vs.                                )
                                                  )
ANTONIO WARD                          (1)         )
CHE McCLURKIN                         (3)         )
                                                  )


        THIS MATTER is before the court upon defendant Che McClurkin’s motion to continue
this matter from the October 3, 2005 term of court.

       The court finds the ends of justice served by taking such action outweighs the interest of
the public and Defendant to a speedy trial as set forth in 18 U.S.C. 3161(h)(8)(1).

       IT IS THEREFORE ORDERED that this trial be scheduled for the January 9, 2006
term at 10:00 a.m. as to above-named defendants in the Charlotte Division.

        The Clerk is directed to certify copies of this order to Defendants, counsel for Defendants,
to the United States Attorney, the United States Marshals Service, and the U.S. Probation Office.

       IT IS SO ORDERED.




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                       Signed: October 7, 2005




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